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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                            NEWNAN DIVISION

SOUTHWIRE COMPANY, LLC,

                     Plaintiff,
                                                     Civil Action No.
      v.                                             JURY TRIAL DEMANDED
JOHN DOE, In Possession of Stolen
Southwire Confidential Information,
Thereby Injuring Southwire and Its
Customers, Clients, and Vendors,

                     Defendant.


                                    COMPLAINT

      Plaintiff Southwire Company, LLC (“Southwire” or “Plaintiff”) hereby

complains and alleges against John Doe (“Defendant”), as follows:

                            NATURE OF THE ACTION

      1.       This is a civil action for injunctive relief and damages against

Defendant arising under the Computer Fraud and Abuse Act, 18 U.S.C. § 1030,

and the common law of trespass to chattels. As further alleged below, Defendant

wrongfully accessed Southwire’s computer systems and extracted Southwire’s

confidential business information and other sensitive information from the

computer systems. Defendant then demanded several million dollars to keep the


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information private, but after Southwire refused Defendant’s extortion, Defendant

wrongfully posted part of Southwire’s confidential information on a

publicly-accessible website that Defendant controls. Unless enjoined from further

exposing this information to the public, Defendant likely will continue to post

more of Southwire’s confidential and sensitive information on Defendant’s

publicly-accessible website, causing substantial, imminent, and irreparable harm to

Plaintiff.

                                    THE PARTIES

       2.       Plaintiff Southwire Company, LLC is a prominent cable and wire

manufacturer. Southwire is a Delaware corporation with its principal place of

business at One Southwire Drive, Carrollton, Georgia 30119, USA.

       3.       On information and belief, Defendant controls the

domain that is being used to cause harm to Southwire, its customers, and the

public. Southwire is informed and believes and thereupon alleges that John Doe

can likely be contacted via web portal available at

                                                      . Southwire is unaware of the

true name(s) of Defendant sued herein as John Doe and, therefore, sues this




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Defendant under a fictitious name.1 Plaintiff will amend this Complaint to allege

the true name and capacity of Defendant when ascertained. Plaintiff has exercised

due diligence and will continue to exercise due diligence to determine Defendant’s

true name(s), capacity, and contact information, and to effect service on that

Defendant.

       4.       On information and belief, the fictitiously named Defendant is

responsible for the occurrences herein alleged, and Southwire’s injuries as herein

alleged were proximately caused by such Defendant.

       5.       On information and belief, third-party

              , is a domain name registrar that provides domain-name registration and

web-hosting services to individuals and companies.            is the administrator of

the IP address                    —connected to domain                  —used by

Defendant in this action.           has operated subdomain services through that

domain directed at the United States and Georgia. Based on information and belief,

Plaintiff asserts that         is located in             .




1
    The gender-neutral “they” and “their” pronoun is used throughout this
    Complaint because Plaintiff is unaware of Defendant’s identity (which could be
    an individual or a group).

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      6.       On information and belief, the actions and omissions alleged herein to

have been undertaken by Defendant and their agents were actions that Defendant

authorized, controlled, directed, or had the ability to control, direct, and/or were

actions and omissions Defendant assisted, participated in, or otherwise encouraged,

and are actions for which Defendant is liable.

                           JURISDICTION AND VENUE

      7.       This Court has jurisdiction over the subject matter of this action

pursuant to 28 U.S.C. § 1331, as the action arises under the federal Computer

Fraud and Abuse Act (18 U.S.C. § 1030) (“CFAA”). This Court has subject-matter

jurisdiction under 28 U.S.C. § 1367 over the claim for trespass to chattels, which

forms part of the same case or controversy as the CFAA claim.

      8.       This Court has personal jurisdiction over Defendant as a result of the

Defendant’s unauthorized access into, and misappropriation of information from, a

“protected computer” as defined in 18 U.S.C. § 1030(e)(2)(B) that is used for

commerce and communication with persons and entities in Georgia, and also as a

result of Defendant’s wrongful conduct causing injurious effect in Georgia.

      9.       Venue is proper in this judicial district pursuant to 28 U.S.C. §

1391(b). A substantial part of the events or omissions giving rise to Southwire’s




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claims occurred in this judicial district. Additionally, a substantial part of the

property that is the subject of Southwire’s claims is situated in this judicial district.

                                        FACTS

        10. Ransomware is a type of malicious software, or malware, designed to

deny access to a computer system or data until a ransom is paid. Ransomware

typically spreads through phishing emails or by unknowingly visiting an infected

website.

      11.      On or about                      , Southwire learned of the unauthorized

access to and exfiltration of its data when a variant of ransomware software known

as “Maze Ransomware” was executed on

                                  . When Maze Ransomware was executed on

Southwire’s systems, it encrypted Southwire’s files, causing Southwire to lose

access to the data stored on these systems. (See Exhibit A).

      12.      The breached machines, or computers, are “protected computers”

under 18 U.S.C. § 1030(e)(2)(B), which defines a “protected computer” as a

computer “which is used in or affecting interstate or foreign commerce or

communication, including a computer located outside the United States that is used

in a manner that affects interstate or foreign commerce or communications to the




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United States.” The breached computers are used for interstate and foreign

commerce or communication.

      13.    Since discovering the incident, Southwire acted promptly to prevent

the spread of the Maze Ransomware and undertook an investigation to try to

determine the identity of the intruder, the precise scope of the intrusion, and the

extent of the damages. This investigation is ongoing.

      14.    Based on this investigation to date, Southwire has determined that

Defendant accessed Southwire’s systems without authorization and




      15.    After stealing Southwire’s data and deploying the Maze Ransomware,

Defendant demanded from Southwire a payment of

         in exchange for decrypting Southwire’s data and not releasing Southwire’s

confidential and sensitive information to the public. Southwire refused to pay

Defendant.

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      16.    'HIHQGDQWHUHFWHGDZHEVLWHRQWKHSXEOLF,QWHUQHWᅁ                        

                          ᅁZKLFKDVRI                                            

listed the company names and corresponding websites for twenty-seven victims of

its malware that have declined to pay a ransom demand, including Southwire. On

information and belief, the information on the website includes




                                                .

      17.    From on or about

     , Plaintiff communicated with Defendant about recovering the stolen

information, and Defendant continued to request a ransom payment in exchange

for not releasing Plaintiff’s confidential and sensitive information on the public

Internet. During this time, Defendant threatened to release this information and

pointed to its release of other companies’ data as an indicator that it would follow

through on its threats.

      18.    After Plaintiff did not pay the ransom demanded by Defendant, a

portion of Plaintiff’s stolen confidential and sensitive information was publicly

posted to                            . (See Exhibit B ). Defendant has threatened to

expose further confidential and sensitive information to the public if the ransom

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payment is not made in the coming days.

                                    .

      19.    Plaintiff has already been irreparably harmed by Defendant’s illegal

misappropriation and public dissemination of Southwire’s data. To date, Plaintiff

has spent a substantial sum of money (far in excess of $5,000) to investigate the

incident and to remediate the damage Defendant has caused and is in the position

to further cause. Additionally, news of the incident and the Defendant’s exploits

has been spread to various media outlets by the Defendant in an effort to harm

Southwire’s reputation and alarm its customers, vendors, and employees.

    FIRST COUNT – VIOLATION OF THE COMPUTER FRAUD AND
                  ABUSE ACT (18 U.S.C. § 1030)

      20.    Southwire realleges and incorporates by reference the allegations

contained in paragraphs 1 through 19 above.

      21.    Title 18, United States Code, Section 1030(g) provides that “any

person who suffers damage or loss by reason of a violation of this security may

maintain a civil action against the violator to obtain compensatory damages and

injunctive relief or other equitable relief.” Under 18 U.S.C. § 1030(g), (a)(2)(C),

and (c)(4)(A)(i)(I), a civil action may be brought if the conduct involves a loss

during any one-year period aggregating at least $5,000 in value.


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       22.   Defendant violated the Computer Fraud and Abuse Act, 18 U.S.C. §

1030(a)(2)(C), by knowingly and intentionally accessing Southwire’s protected

computers without authorization or in excess of any authorization and thereby

obtaining information from the protected computers in a transaction involving an

interstate or foreign communication.

       23.   Defendant violated the Computer Fraud and Abuse Act, 18 U.S.C.

1030(a)(5)(B), by intentionally accessing protected computers without

authorization, and as a result of such conduct, recklessly causing damage to

Plaintiff.

       24.   Defendant violated the Computer Fraud and Abuse Act, 18 U.S.C.

1030(a)(5)(C), by intentionally accessing protected computers without

authorization, and as a result of such conduct, causing damage and loss to Plaintiff.

       25.   Defendant’s conduct has caused a loss to Plaintiff during a one-year

period aggregating at least $5,000 in value.

       26.   Plaintiff has suffered damages resulting from Defendant’s conduct.

       27.   Plaintiff seeks compensatory and punitive damages under 18 U.S.C. §

1030(g) in an amount to be proven at trial.

       28.   As a direct result of Defendant’s actions, Plaintiff has suffered and

continues to suffer irreparable harm for which Plaintiff has no adequate remedy at

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law. Plaintiff will continue to suffer irreparable harm until an injunction issues

against Defendant.

                SECOND COUNT – TRESPASS TO CHATTELS

      29.    Plaintiff realleges and incorporates by reference the allegations

contained in paragraphs 1 through 19 above.

      30.    Defendant’s actions in infiltrating Plaintiff’s systems to execute Maze

Ransomware resulted in Defendant’s unauthorized access to Southwire’s

computers and servers.

      31.    Defendant intentionally caused this conduct, and this conduct was

unauthorized.

      32.    Defendant’s actions have caused injury to Southwire and imposed

substantial costs on Southwire, including time, money, and a burden on

Southwire’s computers, as well as injury to Southwire’s business goodwill. Also,

Defendant’s actions have diminished the value of Southwire’s possessory interest

in its computers and servers.

      33.    As a result of Defendant’s unauthorized and intentional conduct,

Southwire has been damaged in an amount to be proven at trial.

      34.    As a direct result of Defendant’s actions, Southwire has suffered and

continues to suffer irreparable harm for which Southwire has no adequate remedy

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at law. Plaintiff will continue to suffer irreparable harm until an injunction issues

against Defendant.

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff Southwire prays that the Court:

      a. Enter judgment in favor of Southwire and against the Defendant;

      b. Declare that Defendant’s conduct has been willful and that Defendant

          has acted with fraud, malice, and oppression;

      c. Enter a preliminary and permanent injunction enjoining Defendant and

          their officers, directors, principals, agents, servants, employees,

          successors, and assigns, and all persons and entities in active concert or

          participation with them, from engaging in any of the activity complained

          of herein or from causing any of the injury complained of herein and

          from assisting, aiding or abetting any other person or business entity in

          engaging in or performing any of the activity complained of herein or

          from causing any of the injury complained of herein;

      d. Order that Defendant and their officers, directors, principals, agents,

          servants, employees, successors, and assigns, and all persons and entities

          in active concert or participation with them, immediately deliver to

          Plaintiff: (i) all copies of the data stole from Southwire’s systems; and (ii)

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        all copies of any materials (in paper, electronic, or any other form) that

        contain or reflect any information derived from Southwire’s data.

     e. Award Plaintiff a money judgment that includes (a) disgorgement of the

        Defendant’s profits; (b) compensatory damages; (c) enhanced,

        exemplary, special, and punitive damages; (d) attorney’s fees, costs, and

        expenses; and (e) interest.

     f. Award Plaintiff any and all other relief to which Plaintiff is entitled.

Respectfully submitted on                  /s/ Jonathan S. Klein
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